
| iFITZSIMMONS, Judge,
dissenting.
I respectfully dissent from the conclusion reached by the majority. Although sales tax has not been “customarily” included when estimates are given for the “market value” of a product, the philosophy behind arriving at a specific sum in the assessment of property damage awards certainly would include the sales tax. This court in Cenac v. Duplantis Moving &amp; Storage Company, Inc., 407 So.2d 424, 427 (La.App. 1st Cir.1981) cogently stated, “... [T]he intent of the law is to place plaintiff in the same position he was in prior to the accident — not in a better [or worse] position.” The sales tax should logically be considered as necessary to place the plaintiff in that same position.
